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15

16                               UNITED STATES DISTRICT COURT
17                                   DISTRICT OF NEVADA
18   SAGE HUMPHRIES, GINA MENICHINO,
     ROSEMARIE DeANGELO, DANIELLE
19   GUTIERREZ, JANE DOE 1,                        Case Number: 2:21-cv-01412-ART-EJY
     and JANE DOE 2
20                                                 DECLARATION OF DANIELLE
                   Plaintiffs,                     GUTIERREZ IN SUPPORT
21                                                 OF PLAINTIFFS’ MOTION FOR
            vs.                                    SUMMARY JUDGMENT
22
     MITCHELL TAYLOR BUTTON and
23   DUSTY BUTTON,
24                 Defendants.
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                  DECLARATION OF DANIELLE GUTIERREZ IN SUPPORT OF
                     PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
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 1   I, Danielle Gutierrez, declare as follows:
 2          1.      I am Danielle Gutierrez, a Plaintiff in the above-captioned action.
 3          2.      Defendants have filed a defamation counterclaim against me for the following
 4   statements, which were published in Cosmopolitan:
 5          First, he was her teacher who told her she was like his ‘little sister.’
 6
            Their [Taylor and Danielle’s] relationship affected everything: her mental health,
 7          her sense of safety. Even where she went to college – he convinced her to stay
            local. And because he didn’t want her partnering with other men in classes there,
 8          she paused on studying dance. He yelled, berated her in public. If someone
            attempted to intervene, he scared them off by becoming belligerent. She started
 9          believing no one could help her. In the worst moments, she was afraid for her
10          life.
            3.      These statements are true.
11
            4.      I subjectively believe these statements are true.
12
            5.      To the best of my knowledge and belief, I did not provide any information to
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     Cosmopolitan beyond information that was already accessible in my complaint against
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     Defendants.
15
            I declare under penalty of perjury that the foregoing is true and correct to the best of my
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     knowledge and belief.
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     Dated: January 6, 2025
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19                                                     /s/ Danielle Gutierrez
                                                       Danielle Gutierrez
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                   DECLARATION OF DANIELLE GUTIERREZ IN SUPPORT OF
                      PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
